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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION


Elizabeth HUNTER; et al.,
                                                                  Case No. 6:21-cv-00474-AA
                                Plaintiffs,
                                                                  PLAINTIFFS'
                                      v.                          SUPPLEMENTAL BRIEF
                                                                  OF NEWLY DISCOVERED
                                                                  FACTS
DEPARTMENT OF EDUCATION; and Catherine
LHAMON, in her official capacity as Assistant Secretary for
the Office of Civil Rights, U.S. Department of Education,
                                Defendants,


 COUNCIL FOR CHRISTIAN COLLEGES &
 UNIVERSITIES, WESTERN BAPTIST COLLEGE
 d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
 UNIVERSITY AND PHOENIX SEMINARY,
                                Intervenor-Defendants.



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                             I.   SUMMARY OF NEW FACTS

   Over the past six months, Defendants have moved nearly half of Plaintiffs’ Title IX complaints

out of the evaluation stage. Defendants are now actively investigating seven (7) of Plaintiffs’ Title

IX complaints. However, Defendants are also actively dismissing Plaintiffs’ Title IX complaints

on the basis of the religious exemption to Title IX. So far, Defendants have dismissed four (4) of

the Plaintiffs’ Title IX complaints on the basis of the religious exemption. Plaintiffs urgently need

this Court’s intervention to prevent further Title IX complaint dismissals, dignitary harms and

disruptions to their education.

                                         II. ANALYSIS

   Since the November 2021 Preliminary Injunction Hearing (“PIH”), Defendants have opened

seven federal civil rights investigations in response to Plaintiffs’ administrative Title IX

complaints. In those seven cases, Defendants found Plaintiffs’ complaints to be timely, within

Defendants’ subject matter jurisdiction, and to otherwise have stated valid claims of discrimination

in violation of Title IX. Those seven investigations remain ongoing and involve the following

Plaintiffs and educational institutions: Kalie Hargrove, Lincoln Christian University; Gary

Campbell, Clarks Summit University; Journey Mueller, Colorado Christian University; Jonathan

Jones, Azusa Pacific University; Cameron Martinez, La Sierra University; Lucas Wilson, Liberty

University; Jamie Lord, Regent University, School of Law. Declaration of Paul Carlos Southwick

(“Southwick Decl.”), Exs. A-G.1



   1  In four of the seven open investigations, OCR is investigating the Plaintiffs’ allegations of
personal discrimination against the Plaintiffs themselves as individuals, as well as allegations of
discrimination against the LGBTQ+ students on that campus as a group. In two of the seven open
investigations, Defendants concluded that the Plaintiffs’ individual allegations did not meet their
standard of timeliness, and would not be investigated, but that the allegations about discrimination


                   PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   2                                                          Religious Exemption Accountability Project
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   However, Defendants have also recently dismissed, based exclusively on the religious

exemption, four Title IX complaints filed by Plaintiffs.2 Those four complaints contained timely

allegations and otherwise stated valid claims of sex discrimination. However, Defendants

determined that the assurances of religious exemption Defendants had previously granted to the

educational institutions at issue required Defendants to dismiss Plaintiffs’ otherwise valid claims

of illegal sex discrimination. See e.g. Southwick Decl. Ex. K, p. 5 (describing the religious

exemption Defendants granted to BYU-Idaho and dismissing Plaintiff Chandler Horning’s Title

IX complaint on that basis). The four Title IX complaints dismissed on this basis involve the

following Plaintiffs and educational institutions: Elizabeth Hunter, Bob Jones University;

Chandler Horning, BYU-Idaho; Rachel Moulton, BYU-Idaho; and Alice Murphy, BYU-Provo.

Southwick Decl., Exs. I, K, L, M.3

   There should be eleven ongoing investigations into Plaintiffs’ complaints. However, because

of the overly broad and unconstitutional religious exemption to Title IX, there are only seven.

Moreover, when Defendants dismiss Title IX complaints on the basis of the religious exemption,



toward LGBTQ+ students as a group were timely, and would be investigated. In one of the seven
open investigations, Defendants are only investigating the allegations of individual discrimination
because allegations of discrimination against LGBTQ+ students as a group were not made in that
Title IX complaint.
   2   Defendants also dismissed four other complaints for reasons other than the religious
exemption. Defendants dismissed three complaints because of other legal action pending relating
to the same set of allegations and dismissed one complaint due to similar allegations already being
investigated by OCR at the same university. See Southwick Decl., Ex. H.
   3   For additional background, please note that on October 21, 2021, OCR initiated an
investigation into BYU-Provo based on a Title IX complaint filed on March 9, 2020 by a student
with no connection to this case. In response, BYU-Provo submitted a request for assurance of
religious exemption to OCR on November 19, 2021, and received that assurance from OCR on
January 3, 2022. Based on the assurance given, OCR dismissed that student’s complaint against
BYU on February 8, 2022. Southwick Decl., Ex. J. Based on that same assurance of religious
exemption, OCR dismissed Plaintiff Alice Murphy’s Title IX complaint on May 24, 2022.
Southwick Decl., Ex. I, p. 7.
                   PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
    3                                                        Religious Exemption Accountability Project
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as it did for these four Plaintiffs, those dismissals are not appealable. Southwick Decl., Ex. I, p.

11; see also Dkt. 124-1, Ex. 1 (OCR’s Case Processing Manual, section 108(f)). Consequently, the

four Plaintiffs whose Title IX complaints were dismissed on this basis have now been completely

shut out of a remedy and enforcement process that remains open and available to the non-LGBTQ+

students on their campuses and to LGBTQ+ students attending other taxpayer-funded educational

institutions.

    Additionally, two of Defendants’ seven active federal civil rights investigations into Plaintiffs’

Title IX complaints are in danger of soon being dismissed on the basis of the religious exemption,

as two of the educational institutions being investigated requested assurances of religious

exemption from Defendants in response to the investigations. Southwick Decl. Ex. A, pp. 15-42;

Ex. B, pp. 7-15 (Kalie Hargrove’s complaint against Lincoln Christian University and Gary

Campbell’s complaint against Clarks Summit University). Defendants then granted those

assurances. Southwick Ex. A, p. 43-45; Ex. B., pp. 16-18. Based on those now granted assurances,

the number of Plaintiffs whose Title IX investigations have been dismissed on the basis of the

religious exemption will grow from four to six.

    The remaining five active investigations are also in danger of being dismissed on the basis of

the religious exemption because Defendants offered those educational institutions the opportunity

to claim the religious exemption in response to their investigation. Defendants have not provided

updated information on whether those educational institutions have also recently requested

religious exemptions.4




    4
     U.S. Department of Education website last updated May                                 10,    2022,
www2.ed.gov/about/offices/list/ocr/correspondence/other.html
               PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
  4                                                            Religious Exemption Accountability Project
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   These new facts severely undermine Defendants’ prior arguments regarding standing and

ripeness. Defendants repeatedly argued that Plaintiffs’ claims and preliminary requests for relief

were unripe because Defendants, at that time of their arguments, had not opened any of Plaintiffs’

then-pending Title IX complaints for investigation or relied on the religious exemption to Title IX

to take adverse action against Plaintiffs’ administrative Title IX complaints. See e.g. Dkt. 56, p.

13 (e.g. ““[U]ntil ED makes a determination with regard to these complaints, there is no basis for

the Court to evaluate whether a real case or controversy exists between Plaintiffs and ED. ED may

or may not conclude that the Religious Exemption applies to any of the allegations presented in

Plaintiffs’ complaints.”); Dkt. 56, p. 14, n. 3 (“Indeed, it may be that a majority, if not all, of

Plaintiffs’ complaints are dismissed on timeliness grounds or because the individual in question

has left the school in question.”); Dkt. 62, p. 17 (“Plaintiffs’ challenges to ED’s actions are

therefore not ripe…Plaintiffs’ recently submitted administrative complaints remain pending and

Plaintiffs have still not obtained administrative determinations from ED as to any of the underlying

conduct alleged in the FAC.”); Dkt. 150, p. 11 (“…the evidence shows that OCR has not made

any decisions on the applicability of the religious exemption to Plaintiffs’ Title IX administrative

claims (and may not need to do so). As a result, Plaintiffs’ challenges to OCR’s application of that

exemption are unripe.”); Dkt. 150, p. 12 (“[A]nd there is no certainty that any of the schools at

issue have obtained, or will seek at any future stage of the process to obtain, an applicable religious

exemption assurance[.]”).

    As demonstrated by the facts described above that have developed subsequent to the PIH,

Defendants’ ripeness arguments are no longer valid. Defendants have now determined that at least

eleven Plaintiffs made timely allegations of sex discrimination in violation of Title IX. Defendants

have opened seven of those complaints for investigation. However, Defendants have dismissed

                   PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   5                                                            Religious Exemption Accountability Project
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four complaints on the basis of the religious exemption and at least two additional active

investigations are in danger of likely dismissal because the educational institutions at issue have

sought and obtained the applicable religious exemption assurance. Consequently, Plaintiffs’ claims

and requests for preliminary relief are now abundantly ripe.

   Even prior to these recent factual developments, Plaintiffs consistently argued that their claims

and requests for preliminary relief were ripe because the prior conduct of Defendants demonstrated

a real threat that they would take adverse action against Plaintiffs’ Title IX complaints on the basis

of the religious exemption. See e.g. Dkt. 44, p. 21 (“In the five known cases in which LGBTQ+

students at fundamentalist educational institutions previously submitted Title IX complaints to

DOE, DOE dismissed them every single time, including the prior complaints filed by Plaintiffs

Montgomery and T. Campbell.”); Dkt. 64, p. 18 (“Plaintiffs have put forward uncontested

evidence that Defendants have historically used TIXRE to dismiss Title IX complaints by

LGBTQ+ students against NFBCUs, on every occasion…”).

   Plaintiffs’ fears have proven to be well-grounded.

   To the extent the Court might have previously agreed with Defendants that Plaintiffs’ claims

and requests for preliminary relief were unripe, whether at the time of issuing its August 2021

Order denying Plaintiffs’ request for a TRO or after having considered the briefing and testimony

at the November 2021 PIH, recent events occurring subsequent to the PIH more than sufficiently

render Plaintiffs’ claims ripe for adjudication.

   Moreover, subsequent to the PIH, some taxpayer-funded educational institutions that are the

subjects of Plaintiffs’ Title IX complaints have doubled-down on their harmful discriminatory

practices. For example, at Liberty University, the educational institution of two of the Plaintiffs in

this case, the university recently amended its student conduct rules to go far beyond prohibiting


                   PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   6                                                           Religious Exemption Accountability Project
                                                                              Paul Southwick Law, LLC
same-sex marriage or sexual activity. Liberty University will now punish LGBTQ+ students for

“statements and behaviors that are associated with LGBT states of mind.” LGBT states of mind are

now punishable offenses that could subject students to expulsion, derail their academic and career

goals, cause the loss of thousands of dollars in tuition, damage their mental and psychological

health, and undermine their sense of dignity as people whose identities and relationships are

supposed to be treated as equally valid by the law and government agencies.5

   Liberty University is not the only taxpayer-funded institution doubling-down on

discrimination. As another example, at Lee University, the educational institution of two of the

Plaintiffs in this case, it was recently revealed that next year’s student conduct rules will state:

       “No member of the Lee University Community may publicly identify or behave as
       a gender that does not correspond to his or her biological sex. This includes any of
       the following actions when taken for the purpose of identifying as a gender that
       does not correspond to the person’s biological sex:

       o       Using or requesting others to use a different name or nickname;
       o       Using or requesting others to use pronouns that do not correspond to the
       person’s biological sex;
       o       Dressing or outwardly presenting as a gender that does not correspond to
       the person’s biological sex;
       o       Requesting a change to the sex/gender stated on any university or
       government-issued document or record;
       ***
       No member of the Lee University Community may promote or advocate, in person,
       in writing, or online, for sexual acts, behaviors, or lifestyles that are contrary to
       Scripture, this Statement of Belief, or any other University policy; nor may any
       member organize or participate in a campus club with missions or goals that
       contradict the same.”6




   5
     See www.liberty.edu/students/wp-content/uploads/sites/89/2021/09/LW-11.29.2021-OCL-
COMPLETE.pdf and www.lgbtqnation.com/2022/06/liberty-university-already-hostile-lgbtq-
students-quiet-change-rules-make-worse/
   6 See www.insidehighered.com/quicktakes/2022/05/24/lee-university-limit-students’-gender-
expression
               PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   7                                                            Religious Exemption Accountability Project
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   Consequently, a student who, for example, exercises their legal right to change their

government identity documents, or who merely asks an on-campus therapist to use accurate

pronouns for them, will be subject to discipline by Lee University.

   Assistance from this Court was necessary in November 2021 at the PIH and it is necessary

now more than ever. If this Court does not intervene, Defendants will continue to fund educational

institutions that are dangerous for LGBTQ+ students. Defendants will continue to license, facilitate

and actively aid the severe harms and discrimination, and will continue to allow more LGBTQ+

students to be punished for simple behaviors and requests that are necessary for their mental and

physical health.

   It does not have to be this way. As Norwood, Bob Jones University and the other cases

Plaintiffs rely on so clearly instruct, the equal protection guarantees of the Due Process Clause and

the equal protection limitations on the Spending Clause, prohibit government entities from

funding, facilitating or actively aiding, religious educational institutions that exclude or inflict

indignities and suffering on racial minority students, notwithstanding the Free Exercise Clause of

the First Amendment and an educational institution’s sincerely held religious beliefs in the

separation of the races. These are not hypothetical situations. Hundreds of taxpayer-funded

religious schools and colleges continued to exclude Black students or prohibit interracial marriage

and dating, on the basis of sincerely held religious beliefs, for decades after Brown v. Board of

Education. None of them do so now because federal courts made it illegal to use state or federal

government money or benefits to operate such schools.

   So too here, if LGBTQ+ people are truly to be considered equals in this country, the

Constitution must prohibit the federal government from funding, facilitating or aiding educational

institutions where known, severe, and ongoing harm is inflicted against LGBTQ+ youth. LGBTQ_


                   PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   8                                                          Religious Exemption Accountability Project
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youth are a politically and economically powerless population, with well-documented increased

risks of suicide, depression, and anxiety that are exacerbated by hostile environments where they

must hide, be constantly vigilant so as not to display behaviors, statements or even “states of mind”

that might out them to their peers or administration, and where they remain under threat of

immediate expulsion and loss of housing.

   Because these young LGBTQ+ people who are being harmed are politically and economically

powerless, it is no surprise that Congress and federal agencies, through the religious exemption to

Title IX and Defendants’ broad application of that exemption, might permit taxpayer-funded

educational institutions to inflict such grave harms on such a vulnerable population. However, the

Constitution does not permit taxpayer funds to be used in such a manner, even when those grave

harms are inflicted by good people on the basis of their sincerely held religious beliefs.

   Intervenor-Defendants recently filed a Notice of Supplemental Authorities regarding recent

U.S. Supreme Court rulings in Carson v. Makin and Kennedy v. Bremerton School District.7

Regarding Carson, Intervenor-Defendants argue that the Supreme Court now requires the federal

government to fund sectarian schools that discriminate against LGBTQ+ students like the ones

attended by plaintiffs. Not so. The Supreme Court ruled that governments cannot exclude sectarian

schools from government funding programs merely because they are sectarian. However, Justice

Roberts specifically noted that the Court was not saying that governments must fund sectarian

schools with anti-LGBTQ+ policies, noting that “Both dissents articulate a number of other

reasons not to extend the tuition assistance program to BCS and Temple Academy, based on the

schools’ particular policies and practices [including anti-LGBTQ+ policies and practices]” but that




   7 Plaintiffs will more fully respond to Intervenor-Defendants arguments in a separate filing.
                   PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   9                                                          Religious Exemption Accountability Project
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the State of Maine did not “attempt to defend its law on such grounds.” Dkt. 172-1, p. 16, at *.

Consequently, such issues are left for another day. Indeed, in anticipation of Carson, the State of

Maine amended its state anti-discrimination law to prohibit state funding to any school, whether

religious, sectarian or otherwise, that discriminates against LGBTQ+ students. 8 In responding to

the Carson ruling, the Attorney General of Maine, who joined the amicus brief in this case in

support of Plaintiffs, stated that “While the Court’s decision [in Carson] paves the way for

religious schools to apply to receive public funds, it is not clear whether any religious schools will

do so.     Educational facilities that accept public funds must comply with anti-discrimination

provisions of the Maine Human Rights Act, and this would require some religious schools to

eliminate their current discriminatory practices.”9

                                        II. CONCLUSION

         Given Defendants’ recent dismissals of Plaintiffs’ Title IX complaints based on Title IX’s

religious exemption, as described above, and given that many of the schools now subject to

ongoing civil rights investigations, have received, or will likely receive, assurance of religious

exemption from Defendants, we expect that Defendants will ultimately dismiss most, if not all, of

Plaintiffs’ remaining Title IX complaints unless this Court intervenes soon.

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

Motion for Preliminary Injunction. Plaintiffs specifically request that this Court enjoin Defendants




   8
       See https://legislature.maine.gov/legis/bills/getPDF.asp?paper=SP0544&item=1&snum=130#_blank
   9
      See www.einnews.com/pr_news/577857221/statement-of-maine-attorney-general-aaron-frey-on-
supreme-court-decision-in-carson-v-makin
                    PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   10                                                          Religious Exemption Accountability Project
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from dismissing, based on the religious exemption to Title IX, any more of Plaintiffs’ remaining

Title IX complaints and active investigations while this case proceeds before this Court.




Dated: July 20, 2022

                                                            s/ Paul Carlos Southwick

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                  PLAINTIFFS' SUPPLEMENTAL BRIEF OF NEW FACTS
   11                                                        Religious Exemption Accountability Project
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